






NO. 07-02-0158-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



SEPTEMBER 12, 2003


____________________________




CHARMAINE EVETTE MOORE, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE COUNTY CRIMINAL COURT AT LAW NO. 1 OF HARRIS COUNTY;



NO. 1076954; HONORABLE REAGAN C. HELM, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION


	Appellant Charmaine Evette Moore pleaded not guilty, but was convicted by a jury
of prostitution, and sentenced by the trial court to 45 days confinement.  By this appeal,
she claims the evidence is legally and factually insufficient to support the verdict.  Based
upon the following rationale, we affirm.

	The Fifth Ward in Houston is known as a high crime area.  Following numerous
complaints by Fifth Ward residents, the "tact unit" of the Houston Police Department was
dispatched there to conduct a prostitution sting.  During the early morning hours of
September 7, 2001, Officer Ben Tien, an undercover officer with the vice squad and a
member of the sting operation, arrived at the Fifth Ward in an unmarked police vehicle and
noticed a lot of foot traffic, "females entering and exiting vehicles," and other activity
consistent with prostitution.  As he drove down one of the streets in the Ward, he noticed
appellant, who was standing next to a minivan.  When Tien pulled his vehicle close to hers,
appellant approached the open window on the driver's side where Tien was sitting. 
Appellant explained her business was "body sensation rubbing therapy" and offered to
provide Tien with a massage in exchange for $100.   She questioned what business Tien
had in that area and inquired repeatedly whether he was a police officer.  Tien responded
that he was a college student and was in the area on a pledge assignment for his fraternity. 
When Tien explained he had only $75 and wanted to purchase oral sex and sexual
intercourse, appellant "nodded her head and she agreed to it" and pointed to the nearby
hotel.  Tien drove in the direction of the hotel, and appellant followed in her vehicle.  Tien
then initiated the pre-determined "bust" signal.   

	T.L. Sarton was the first officer to respond to the bust signal, and it was he who
arrested appellant.  After the arrest, Sarton discovered appellant's boyfriend attempting to
hide in the back seat of the van; however, appellant denied knowing he was there.  During
a brief search of the vehicle, Sarton located a flier indicating appellant worked for an
"Exotic Mobile Stress Clinic."  Conspicuously absent from the van was massaging oil or
anything related to massage therapy.  Sarton did, however, locate a leather whip with
studs.  At trial, the Chief of Investigations for the Texas Department of Health for the
Professional Licensing and Certification Division, the agency responsible for overseeing
the "Massage Registration Program" for the state, testified "there was no record in the
Registration Licensing Program files of - [Charmaine Evette Moore] having a registration
in the State of Texas." 

	Appellant testified she was not prostituting herself on the night of the offense, but
instead was working as a massage therapist.  According to appellant, she told Tien, "I do
not have sex.  We do massages.  Hot oil rubdowns.  And, that's it."  She asked Tien
several times if he was a "cop" because she was afraid he was trying to "entrap" her. 
Appellant maintained she only agreed to perform a "session" for him for $75.  After
directing Tien to a hotel designated for the "session," appellant claimed she waited for
approximately ten minutes in the minivan before deciding not to follow through with it and
driving, instead, to the hotel to visit a friend who was staying there.  Appellant admitted she
had a prior conviction for prostitution in March of 2000 and several arrests for hitchhiking
and trespass, but averred she had given up that vocation and was actively pursuing a
career as a massage therapist.  Appellant also conceded that, although she worked for a
woman named Lisa Lynn Coleman, the phone number listed on the flier was her home
number, and she was "the only one who answers the phone."

	During the State's rebuttal, Officer Robert Thromaelen testified that during the
course of another vice investigation, he called the phone number listed on the flier
recovered from appellant's minivan.  Thromaelen visited with the woman who answered
the phone and purported to be interested in the services offered in the flier.  Although the
officer did not discuss sex with the woman, she suggested he "might want to wait a week
[to schedule an appointment] because she was on her 'period.'"

	Also during the State's rebuttal, Officer Grace Das, a seven year veteran of the vice
squad, testified she conducted a "street prostitution investigation" during the "midnight
hours" on June 1, 2000, in a "common area in Houston for prostitution activity."  Das further
averred  "it was, on that night, typical of most nights with prostitution, and where prostitutes
came out into the area."   Finally, Das identified appellant as one of the individuals she
arrested that night for hitchhiking after observing her flag down various cars and enter
them.  During cross-examination, Das acknowledged she was unable to prove there was
an offer for sex or that money exchanged hands, and was, thus, was unable to arrest
appellant for prostitution on that night.  

	The State also called Sarton to testify in rebuttal.  He described an encounter he
had with appellant only a few weeks after she had been arrested for the September 7,
2001 incident.  Sarton explained he saw her "out on the street" and told her he "thought it
was brave of her to be out there working the streets or standing on the corner so shortly
after her arrest."  According to Sarton, appellant told him "she was out there because she
needed the money."

	While recognizing "the general rule that credibility of witnesses will not be reviewed
on appeal," appellant maintains this is a situation in which "the credibility of the State's
case has been so undermined that a reviewing court cannot have confidence in a verdict
supported by the testimony presented."  Specifically, appellant contends that because
Tien's "testimony was not corroborated by an electronic surveillance or by any other
witnesses," this Court should deem it incredible.   For those reasons, appellant claims by
two points of error that the evidence is legally and factually sufficient to sustain the
conviction.  We disagree.  

	The standards of review for legal and factual sufficiency of the evidence are well
established and need not be detailed.  See Jackson v. Virginia, 443 U.S. 307, 319, 99
S.Ct. 2781, 2789, 61 L.Ed.2d 560, 573 (1979); Johnson v. State, 23 S.W.3d 1, 11
(Tex.Cr.App. 2000); Clewis v. State, 922 S.W.2d 126, 133 (Tex.Cr.App. 1996).  Before
determining whether the evidence is legally sufficient to sustain the conviction, we must
review the essential elements the State was required to prove.  Appellant was indicted for
committing prostitution in violation of section 43.02 of the Texas Penal Code (Vernon
2003).  Based upon the indictment, the trial court instructed the jury: 

		if you believe from the evidence beyond a reasonable doubt
that the Defendant, CHARMAINE EVETTE MOORE, did in
Harris County, Texas, on or about the 7th day of September,
2001, knowingly agree to engage in sexual conduct, namely,
sexual intercourse and/or deviate sexual intercourse, with B.
TIEN, for a fee, then you will find the defendant "guilty" as
charged in the information.


	At the outset, we note that nothing in the Penal Code or the Code of Criminal
Procedure requires the testimony of the complaining witness in a prostitution case to be
corroborated by electronic surveillance or otherwise.  Next, we acknowledge that in
conducting legal and factual sufficiency analyses, we must remain cognizant of the
factfinder's role and unique position-one that the reviewing court is unable to occupy. 
Hunter v. State, 92 S.W.3d 596, 604 (Tex.App.-Waco 2002, pet. ref'd).  The jury
determines the credibility of the witnesses and may believe some, all, or none of the
testimony.  Chambers v. State, 805 S.W.2d 459, 461 (Tex.Cr.App. 1991).  Indeed, it is the
jury that accepts or rejects reasonably equal competing theories of a case.  Goodman v.
State, 66 S.W.3d 283, 287 (Tex.Cr.App. 2001).   Furthermore, the jury may resolve
conflicts in the evidence in favor of either party.  Kelley v. State, 968 S.W.2d 395, 398
(Tex.App.-Tyler 1998, no pet.).  In this case, the two eyewitnesses to the offense,
appellant and Tien, differed in their recollection of the events of September 7, 2001. 
Contradictions or conflicts between the witnesses' testimony, however, do not destroy the
sufficiency of the evidence; rather, they relate to the weight of the evidence, and the
credibility the jury assigns to the witnesses.  Jimenez v. State, 67 S.W.3d 493, 505
(Tex.App.-Corpus Christi 2002, no pet.).  In a legal sufficiency review, we must presume
the trier of fact resolved any conflicts in favor of the prosecution.  Turro v. State, 867
S.W.2d 43, 47 (Tex.Cr.App. 1993).  It is evident the jury chose to believe Tien's version of
the facts, and to disregard appellant's.  Therefore, because Tien's testimony constituted
direct evidence of the crime, the evidence is legally sufficient to sustain appellant's
conviction.  Appellant's first point of error is overruled.  

	Evidence to support a criminal conviction may be factually insufficient in two distinct
ways.  In the first, the evidence in support of the existence of a vital fact, considered as
standing alone, is factually too weak to support it.  Goodman, 66 S.W.3d at 285.  The
second type of factual insufficiency involves a balancing scale, where there is evidence on
both sides of the question.  Id.  Here, appellant asserts the balancing scales tip in her favor
because the State's case against her was not credible.  Under this type of factual
sufficiency analysis, the evidence must be so strong, so overwhelming, so much more
extensive than the State's evidence that it renders the jury's verdict so contrary to the great
weight and preponderance of the evidence that it is manifestly unjust.  See id. at 286-87. 
In this case, Tien testified appellant offered to provide oral sex and sexual intercourse in
exchange for $75.  Appellant steadfastly maintained she only agreed to provide him with
a massage.  Given the absence of any massage equipment in appellant's minivan,
appellant's failure to possess a massage therapist license from the State, and her
impeachment by a prior conviction for prostitution (1), it was not unreasonable for a jury to
have disbelieved her testimony and to have trusted that of Tien.  Furthermore, the jury may
use common sense and apply common knowledge, observation, and experience gained
in the ordinary affairs of life when giving effect to the inferences that may reasonably be
drawn from the evidence.  Griffith v. State, 976 S.W.2d 686, 690 (Tex.App.-Tyler 1997,
pet. ref'd).  We conclude the jury did just that-it discredited appellant's protestations that
she had given up the life of prostitution and awarded credence to the officers whose
testimony established otherwise.   Because the record does not clearly reveal a different
result is appropriate, we must defer to the jury's determination concerning the weight of the
testimony.  Having viewed all the evidence, both for and against the verdict, we cannot say
the evidence supporting the verdict is so weak or the verdict is so against the
overwhelming weight of the evidence as to be clearly wrong and unjust.  In short, the
evidence is factually sufficient.  Appellant's second point of error is overruled.

	Accordingly, the judgment of the trial court is affirmed.

						Don H. Reavis

						    Justice


Do not publish.

 
1. Because prostitution is a crime of moral turpitude, appellant's conviction for the
offense was admissible to attack her credibility.  See Holgin v. State, 480 S.W.2d 405 (Tex.
Cr.App. 1972); see also Tex. R. Evid. 609(a).



mission of Vidlak as a defendant was
inadvertent, the order is not challenged on that ground.
3. Application of the statute of limitations is subject to determination in the event that
Green seeks to commence another proceeding based upon the events of July 13, 1995. 



